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    Exhibit 377
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                                         Susman Godfrey l.l.p.
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                                                        __________
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        __________                                         __________                                   __________

                         Stephen Shackelford, Jr.
                                                                                       E-Mail SShackelford@susmangodfrey.com
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          August 4, 2021


          Re:       OAN’s Continued and Knowingly False Coverage of Dominion

          Dear Mr. Rhodes:

                 I write on behalf of my client Dominion 1 to insist yet again—for the
          eleventh time—that OAN stop its false and outrageous reporting about Dominion.
          Your hollow denials of the incontrovertible truth are not enough. OAN’s reporting
          has caused extraordinary and irreparable harm to Dominion. OAN must
          immediately retract its defamatory statements in full and issue an immediate on-air
          and written apology.

                  Since Dominion’s July 13, 2021 letter, OAN has relentlessly persisted in its
          false reporting. On July 15, 2021, OAN and its host Alicia Summers falsely claimed
          that Dominion machines “had not been properly certified.”2 Summers and OAN
          also falsely claimed that Maricopa County officials decided to purchase new
          Dominion machines because officials “falsely claim” the sham investigation
          headed by Cyber Ninjas (and trumpeted by OAN) “contaminated the machines.”

                  Later that day, OAN and its host Dan Ball falsely claimed that the counting
          of ballots in Maricopa County “isn’t fully complete,” even though the Maricopa
          County count has been long confirmed, as OAN well knows. 3 Ball went on: “The
          auditors came out today and spoke about the discrepancies they found. It’s called
          election fraud.” As OAN knows, its concocted theories of election fraud—which
          OAN has falsely made synonymous with Dominion—have been long debunked.



          1
           “Dominion” refers to US Dominion Inc. and its subsidiaries, Dominion Voting Systems, Inc. and
          Dominion Voting Systems Corporation.
          2
              OAN, Maricopa County Officials Want to Buy More Dominion Machines (July 15, 2021).
          3
              OAN, Real America with Dan Ball (July 15, 2021).
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        And yet OAN continues to spread this destructive disinformation. On July
16, 2021, OAN and its host Natalie Harp falsely claimed yet again that “the
numbers Arizona certified are obviously not correct.” 4 Harp went on to again
falsely claim the election was stolen: “We have known” the results of the 2020
election “from the very beginning and they can be summed up in two words: Trump
won and that’s the ‘real story.’”

        On July 20, 2021, OAN and OAN’s Dan Ball hosted Ken Bennett to spread
yet more lies about Dominion. Bennett pointed out that “Maricopa uses Dominion
here in Arizona” and called for an “audit” of Dominion machines. 5 Ball responded:
“They know there was cheating, and even if they didn’t individually know there
was cheating, they can see it.”

        As if all of those lies were not enough, on July 23, 2021, OAN and OAN’s
Natalie Harp hosted Rudy Giuliani—whose lies have been publicly debunked and
penalized—to spread even more disinformation about Dominion.6 As OAN knows
(and as Dominion pointed out in our latest letter), Giuliani has been suspended from
practicing law in both New York and Washington, D.C. because of his lies. And
yet OAN gave Giuliani a platform to spread them even further. In the segment,
Giuliani persisted in his lies: “I know we’ve lost the spin war, but we haven’t lost
the truth war. I have the truth. And the reason they’re persecuting me; they are.”
OAN’s Harp responded: “You never back down. That’s why they’re afraid of you.”

        OAN’s lies have spun out of control. OAN knows that Dominion did not
steal the election or participate in election fraud. OAN has long been on notice of
the truth—and yet OAN continues not only to trumpet its false narrative, but to
create a false narrative to trumpet. I write once again to demand OAN retract its
statements in full and issue an on-air apology with the same prominence as its lies.

Sincerely,




Stephen Shackelford, Jr.


4
    OAN, Uncovering What Happened in Maricopa County (July 16, 2021).
5
    OAN, Fighting for Election Transparency (July 20, 2021).
6
    OAN, Real Story with Natalie Harp (July 23, 2021).
